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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

             RAHMAN HILL,                                :    MOTION TO VACATE
                Movant,                                  :    28 U.S.C. § 2255
                                                         :
                      v.                                 :    CRIMINAL INDICTMENT NO.
                                                         :    1:10-CR-0326-TWT-JFK-2
             UNITED STATES OF AMERICA,                   :
                 Respondent.                             :    CIVIL FILE NO.
                                                         :    1:12-CV-1992-TWT-JFK

                                      MAGISTRATE JUDGE’S FINAL
                                    REPORT AND RECOMMENDATION

                      Movant has filed a 28 U.S.C. § 2255 motion to vacate, set aside, or correct his

             federal sentence entered in this Court under the above criminal docket number. The

             matter is before the Court on the § 2255 motion, (Doc. No. 134); the government’s

             response, as supplemented, (Doc. Nos. 139, 152); and Movant’s reply, as

             supplemented, (Doc. Nos. 148, 172). For the reasons discussed below, Movant’s

             motion to vacate is due to be denied.

             I.       Background

                      The Federal Grand Jury sitting in the Northern District of Georgia indicted

             Movant on one count of conspiracy to defraud the United States, in violation of 18

             U.S.C. § 286. (Doc. No. 1). In May 2011, Movant entered a guilty plea. (Doc. No.

             94, Attach.). In his plea agreement, Movant stated that he understood that the Court




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             would have discretion to impose a sentence up to the statutory maximum of ten years

             and that no one could predict his sentence at that time. (Id. ¶¶ 3, 4). Movant

             voluntarily and expressly waived the right to appeal his conviction and sentence and

             the right to collaterally attack his conviction and sentence in a § 2255 motion, with

             exceptions that do not apply here. (Id. ¶ 8).

                    The government agreed to seek a downward departure if it determined that

             Movant had provided “substantial assistance,” and Defendant stated that he understood

             that whether he provided “substantial assistance” rested solely with the government.

             (Id. ¶ 15). The government agreed (1) to recommend that Movant receive an

             adjustment for acceptance of responsibility – with the understanding that if Movant

             engaged in conduct inconsistent with accepting responsibility it would not be required

             to make that recommendation – and (2) to recommend that he be sentenced at the low

             end of the adjusted guidelines range. (Id. ¶¶ 17, 18). The government recommended

             a base offense level of six and a sixteen level enhancement based on loss amount and

             recommended that the offense did not involve sophisticated means. (Id. ¶ 16). The

             plea agreement did not mention a leadership enhancement and left open the right to

             make further recommendations regarding the Sentencing Guidelines. (Id. ¶¶ 16, 21,

             22).



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                   At the plea hearing, Movant told the Court that he understood he could receive

             a sentence of up to ten years. (Doc. No. 132 at 19). The Court asked Movant whether

             he understood that the estimates or opinions that counsel had given him regarding his

             sentence were just opinions, that they were not binding on the Court, and that the Court

             alone would determine his sentence, and Movant stated that he understood. (Id. at 20).

             The Court questioned Movant whether he understood that he was voluntarily giving

             up his rights to direct and collateral review, and Movant stated that he understood. (Id.

             at 21).   Movant agreed that the Court did not have to accept the sentencing

             recommendations in the plea agreement and that Movant’s sentence might be harsher

             or greater than he anticipated. (Id. at 23). Movant agreed that no one had given him

             any promise or assurance (other than in the plea agreement) and that no one had

             coerced or threatened him to get him to plead guilty. (Id. at 23). The Court accepted

             Movant’s guilty plea. (Id. at 32). On November 3, 2011, the Court imposed on

             Movant a one-hundred month term of imprisonment. (Doc. Nos. 123, 124).

                   Movant now brings this § 2255 motion and argues that his counsel provided

             ineffective assistance by: (1) refusing to assist Movant during crucial phases of the

             proceedings, operating under a conflict of interest, abandoning Movant, and failing to

             investigate and (2) inducing Movant to enter into a one-sided plea agreement that was

             not supported by consideration by the government. (Doc. No. 134 at 5-6). Movant

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             asserts that counsel operated under a conflict of interest based on Movant’s inability

             to pay counsel, resulting in counsel refusing to prepare for sentencing and a total break

             down of the attorney-client relationship. (Doc. No. 134, Attach at 18-20). Movant

             contends that counsel violated the code of conduct for attorneys – his actions were

             morally reprehensible, condescending, and unsupportive; he did not avoid a

             controversy over fees, he misled Movant as to when he received a copy of the pre-

             sentence investigation report (“PSI”), and he did not object to the PSI – which

             prejudiced Movant during the sentencing process. (Id. at 18, 21-30). Movant contends

             that counsel “took” a plea agreement that is void and unenforceable because it lacks

             consideration. (Id. at 32-38).

                   The government asserts that Movant’s appeal waiver should be enforced and

             that his § 2255 motion should be denied. (Doc. No. 139). Movant replies that the

             waiver is invalid because the plea agreement is void and because the plea agreement

             was involuntary on the grounds that counsel did not discuss a possible enhancement

             based on Movant’s role in the offense, misled him on whether he could earn a

             downward departure, and misled him that his sentence would be seventy-months.1


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                    Movant mentions in passing the standard for reviewing a breach of a plea
             agreement, (Doc. No. 148 at 3), and on the next page he states that the government
             never intended to allow him to earn a downward departure, (id. at 4). The government
             agreed to seek a downward departure based on its sole determination that Movant had

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             (Doc. No. 148 at 2, 4). Movant also states, among other things, that “the issues raised

             as regards ineffective assistance essentially occurred after the plea agreement was

             entered and relate[] not to the Change of Plea Hearing, but to the period after the plea

             agreement was accepted[,] culminating in the Sentencing Hearing.” (Id. at 2).

                    In a supplemental response, the government argues that Movant fails to show

             that his guilty plea was involuntary; that counsel’s asking Movant to pay his fees was

             not a conflict of interest; that, to the extent there was a conflict of interest, it did not

             affect the plea process; and that the plea is a standard negotiated plea which the

             government did not breach. (Doc. No. 152 at 9-17). In his supplemental reply,

             Movant asserts that the issue of counsel’s fees began to dominate his and counsel’s

             discussions even before the guilty plea. (Doc. No. 172 at 2). Movant asserts that by

             the sentencing phase counsel had abandoned him and that his representation was so

             lacking that prejudice should be presumed. (Id. at 5). Movant also contends that with

             little help from counsel he himself “largely negotiated the plea agreement[,]” that “it

             was always [Movant’s] intent to enter a guilty plea[,]” and that Movant did not




             provided substantial assistance. The government indicated at sentencing that Movant’s
             assistance had not reached that level. (Doc. No. 131 at 6). The Court perceives no
             breach by the government on this matter and does not further address this argument.


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             understand the contractual aspects of the plea agreement and “would never have agreed

             to an invalid agreement.” (Id. at 9, 13).

             II.    28 U.S.C. § 2255 Standard

                    Section 2255 of Title 28 allows a district court to vacate, set aside, or correct a

             federal sentence that was imposed in violation of the Constitution or laws of the United

             States or was imposed by a court without jurisdiction, exceeds the maximum sentence

             authorized by law, or is otherwise subject to collateral attack. 28 U.S.C. § 2255. “An

             evidentiary hearing is not required when ‘the motion and the files and records of the

             case conclusively show that the prisoner is entitled to no relief.’” Gordon v. United

             States, 518 F.3d 1291, 1301 (11th Cir. 2008) (quoting § 2255). That is the case here,

             as shown in the discussion below.

             III.   Discussion

                    A sentence appeal waiver is enforceable if “either (1) the district court

             specifically questioned the defendant concerning the sentence appeal waiver during the

             [plea] colloquy, or (2) it is manifestly clear from the record that the defendant

             otherwise understood the full significance of the waiver.” United States v. Bushert,

             997 F.2d 1343, 1351 (11th Cir. 1993). Here, the Court properly questioned Movant

             and ascertained that he understood the appeal waiver. Movant’s appeal waiver waived

             the right to raise a collateral challenge to his sentence. Further, the appeal waiver

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             waived the right to challenge his sentence via a claim that counsel was ineffective on

             sentencing matters. See Williams v. United States, 396 F.3d 1340, 1341-42 (11th Cir.

             2005) (stating that a knowing and voluntarily sentence appeal waiver “precludes . . .

             § 2255 claims based on ineffective assistance at sentencing”). This is so unless

             Movant can succeed on his claim that his guilty plea (including the appeal waiver) was

             involuntary based on ineffective assistance of counsel. As discussed below, Movant

             fails to do so.

                    A criminal defendant possesses a Sixth Amendment right to “reasonably

             effective” legal assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984). To

             show constitutionally ineffective assistance of counsel, a petitioner must establish that

             (1) counsel’s representation was deficient and (2) counsel’s deficient representation

             prejudiced him. Id. at 690-92. The Court may resolve an ineffective assistance claim

             based on either of the above prongs. Bottoson v. Moore, 234 F.3d 526, 532 (11th Cir.

             2000). To succeed on a claim that a guilty plea was obtained as the result of

             ineffective assistance of counsel, a petitioner must show that the advice he received

             from counsel “‘fell below an objective standard of reasonableness’” and “‘that there

             is a reasonable probability that, but for unprofessional counsel’s errors,’” “he would

             not have pleaded guilty and would have insisted on going to trial.” Hill v. Lockhart,

             474 U.S. 52, 57, 59 (1985) (quoting Strickland, 466 U.S. at 688, 694).

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                    Movant fails to show that he was prejudiced by counsel’s alleged deficient

             representation – including counsel’s failure to discuss a possible enhancement based

             on Movant’s role in the offense and his allegedly misleading Movant on whether he

             could earn a downward departure and that his sentence would be seventy-months2 –

             during the plea process. Movant affirmatively states that he always intended to plead

             guilty and nowhere demonstrates that, but for counsel’s alleged deficiencies, he would

             have insisted on going to trial.3 The court also notes that Movant’s allegations of

             ineffective assistance of counsel focus on counsel’s lack of adequate representation on

             sentencing matters. Indeed, Movant in his first reply stated that “the issues raised as

             regards ineffective assistance essentially occurred after the plea agreement was entered

             and relate[] not to the Change of Plea Hearing, but to the period after the plea

             agreement was accepted[,] culminating in the Sentencing Hearing.” (Doc. No. 148 at

             2).   Counsel’s performance on sentencing matters do not show that counsel’s


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                     Movant understood at the plea hearing that any estimate counsel may have
             given him was not binding on the Court and that he could be sentenced anywhere up
             to the statutory maximum of ten years.
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                     Movant’s assertion that he did not understand the contractual aspects of the plea
             and that he would never have entered an invalid plea – if construed to argue that had
             counsel explained that the plea was contractually invalid, he would not have pleaded
             guilty – fails. (See Doc. No. 172 at 13). Movant does not show that the guilty plea
             was contractually invalid, and there was no deficiency by counsel for failing to advise
             otherwise.

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             representation regarding the decision to plead was deficient or that the guilty plea was

             involuntary.

                    Additionally, contrary to Movant’s argument, the Court finds that the plea

             agreement is properly supported by consideration by the government and that the plea

             agreement is not void based on lack of consideration. The Sentencing Guidelines do

             not require the government to recommend any adjustment for acceptance of

             responsibility. See U.S.S.G. § 3E.1.1. The government, however, agreed that it would

             make that recommendation, with the understanding that if Movant engaged in conduct

             inconsistent with accepting responsibility it would not be required to make that

             recommendation. Further, the government agreed to recommend that Movant be

             sentenced to the low end of the adjusted guidelines range. It is recommended that

             Movant’s claim that his guilty plea was involuntary fails. As stated earlier, Movant’s

             remaining claims are barred by his appeal waiver.

             IV.    Certificate of Appealability (COA)

                    Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court

             must issue or deny a certificate of appealability when it enters a final order adverse to

             the applicant. . . . If the court issues a certificate, the court must state the specific issue

             or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” Section

             2253(c)(2) states that a certificate of appealability may issue “only if the applicant has

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             made a substantial showing of the denial of a constitutional right.” Section 2253(c)(2)

             states that a certificate of appealability may issue “only if the applicant has made a

             substantial showing of the denial of a constitutional right.” To satisfy that standard,

             a movant must demonstrate that “reasonable jurists could debate whether (or, for that

             matter, agree that) the petition should have been resolved in a different manner or that

             the issues presented were adequate to deserve encouragement to proceed further.” Lott

             v. Attorney Gen., 594 F.3d 1296, 1301 (11th Cir. 2010) (quoting Miller-El v. Cockrell,

             537 U.S. 322, 336 (2003)) (internal quotation marks omitted).

                   “When the district court denies a habeas petition on procedural grounds
                   without reaching the prisoner’s underlying constitutional claim,” . . . a
                   certificate of appealability should issue only when the prisoner shows
                   both “that jurists of reason would find it debatable whether the petition
                   states a valid claim of the denial of a constitutional right and that jurists
                   of reason would find it debatable whether the district court was correct in
                   its procedural ruling.”

             Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (quoting Slack v. McDaniel, 529

             U.S. 473, 484 (2000)).

                   It is recommended that a COA is unwarranted because it is not debatable that

             Movant has failed to show that his guilty plea was involuntary. If the Court adopts this

             recommendation and denies a COA, Movant is advised that he “may not appeal the

             denial but may seek a certificate from the court of appeals under Federal Rule of



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             Appellate Procedure 22.” Rule 11(a), Rules Governing Section 2255 Proceedings for

             the United States District Courts.

             V.    Conclusion

                   For the reasons stated above,

                   IT IS RECOMMENDED that Movant’s 28 U.S.C. § 2255 motion, (Doc. No.

             134), be DENIED and that a COA be DENIED.

                   The Clerk of Court is DIRECTED to withdraw the referral of this § 2255

             motion to the undersigned Magistrate Judge.

                   IT IS SO RECOMMENDED and DIRECTED, this 25th day of January, 2013.




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